                      So Ordered.

  Dated: August 24th, 2021
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                                             UNITED STATES BANKRUPTCY COURT
             8                               EASTERN DISTRICT OF WASHINGTON
             9   In re                                            Chapter 11
         10      EASTERDAY RANCHES, INC., et al.                  Lead Case No. 21-00141-11
                                                                  Jointly Administered
         11
                                                   Debtors.1
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                 EASTERDAY RANCHES, INC.,                         Adv. Proc. No. 21-80044-11
         13
                                                   Plaintiff,     ORDER APPROVING STIPULATION
         14              vs.                                      REGARDING WITHDRAWAL OF
                                                                  ADVERSARY PROCEEDING
         15      RABO AGRIFINANCE, LLC,                           WITHOUT PREJUDICE AND
                                                                  RESOLVING MOTION FOR TRO
         16                                        Defendant.
         17              THIS MATTER came before the court upon the Debtors’ Motion for a
         18      Temporary Restraining Order and Preliminary Injunction [Docket No. 2] (the “TRO
         19      Motion”), and the Stipulation Among Debtors and Rabo Agrifinance LLC Regarding
         20      Withdrawal of Adversary Proceeding [ECF No. 25] (the “Stipulation”). Capitalized
         21      terms not defined herein shall have their meanings as ascribed in the Stipulation. The
         22      court has reviewed the TRO Motion, the Stipulation, and the record and files herein,
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                  The Debtors along with their case numbers are as follows: Easterday Ranches, Inc., (21-
         26      00141) and Easterday Farms, a Washington general partnership (21-00176).
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         27                                                                                  B USH K ORNFELD           LLP

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                     ORDER APPROVING STIPULATION                                                     LAW OFFICES
                                                                                                601 Union St., Suite 5000
                     – Page 1                                                                Seattle, Washington 98101-2373
                                                                                                Telephone (206) 292-2110
                                                                                                Facsimile (206) 292-2104

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             1   and finds cause exists to approve the Stipulation and grant the relief requested therein.
             2   Now, therefore, it is hereby ORDERED as follows:
             3           1.       The Stipulation [ECF No. 25] is APPROVED.
             4           2.       The TRO Motion [ECF No. 2] is deemed resolved.
             5           3.       The Debtors are hereby authorized to enter into and honor the terms and
             6 conditions of the Stipulation.

             7           4.       The Debtors and Rabo are hereby authorized to take all actions necessary
             8 or appropriate to effectuate the relief granted pursuant to this order.

             9           5.       Notwithstanding anything in the Bankruptcy Code, the Bankruptcy Rules,
         10 or the Local Rules of the United States Bankruptcy Court for the Eastern District of

         11 Washington to the contrary, this order shall be effective upon entry.

         12              6.       The stay imposed pursuant to Bankruptcy Rule 6004(h) is waived.
         13              7.       The court shall retain jurisdiction and power to hear and determine all
         14 matters arising from or related to the implementation of this order.

         15                                           /// END OF ORDER ///
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         18
                 Presented by:
         19
                 /s/ THOMAS A. BUFORD
         20      THOMAS A. BUFORD (WSBA 52969)
                 BUSH KORNFELD LLP
         21
                 RICHARD M. PACHULSKI (admitted pro hac vice)
         22
                 JEFFREY W. DULBERG (admitted pro hac vice)
         23      MAXIM B. LITVAK (admitted pro hac vice)
                 PACHULSKI STANG ZIEHL & JONES LLP
         24
                 Attorneys for Debtors and Debtors in Possession
         25
                 * Changes made by court
         26
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         27                                                                                  B USH K ORNFELD           LLP

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                  ORDER APPROVING STIPULATION                                                        LAW OFFICES
                                                                                                601 Union St., Suite 5000
                  – Page 2                                                                   Seattle, Washington 98101-2373
                                                                                                Telephone (206) 292-2110
                                                                                                Facsimile (206) 292-2104

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